                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


UNITED STATES OF AMERICA                             )
               Plaintiff,                            )
v.                                                   )              NO. 3:22-CR-73
                                                     )           JUDGES CRYTZER/MCCOOK
MARK THOMAS RENO                                     )
             Defendant.                              )


                                  SUGGESTION OF DEATH

        Comes now counsel for the Defendant, Mark Reno, to give formal notice to this Honorable

 Court that it is her belief that Mr. Reno died on August 15, 2022. On August 15, 2022, undersigned

 counsel spoke with Matthew Johnson, a charge nurse in the Intensive Care Unit at Ephraim

 McDowell Regional Medical Center in Danville, Kentucky. Mr. Johnson advised that Mr. Reno

 died on August 15, 2022, at 9:11 a.m. Mr. Reno had previously been temporarily furloughed by

 this Court in order to continue to receive medical treatment at Ephraim McDowell Regional

 Medical Center. [Doc. 18].

        Respectfully submitted, this 16th day of August, 2022.

                                              FEDERAL DEFENDER SERVICES OF
                                              EASTERN TENNESSEE, INC.
                                      BY:     /s/Sarah H. Olesiuk
                                              Sarah H. Olesiuk
                                              Assistant Federal Defender
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Case 3:22-cr-00073-KAC-JEM Document 19 Filed 08/16/22 Page 1 of 1 PageID #: 40
